   Case 3:23-cv-10474-TKW-HTC         Document 56     Filed 09/24/24   Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION




WAYNE FABOZZI and
WENDY FABOZZI,

    Plaintiffs,

               vs.                          Case No.: 3:23-cv-10474-TKW-HTC

UNITED STATES OF AMERICA,

    United States.


                                NOTICE TO COURT

        As directed by the Court’s Order on September 17, 2024, the parties file notice

that they are available for a status conference all day on October 8, 2024. While the

following dates are not within the window of time directed by the Court, should it

please the Court, the parties are also available on October 10, 2024 and October 18,

2024.
  Case 3:23-cv-10474-TKW-HTC         Document 56   Filed 09/24/24   Page 2 of 2




Respectfully submitted this 23rd day of September, 2024.

  JASON R. COODY
  United States Attorney

  /s/ Peter Fisher                         /s/ Jamal Alsaffar
  Peter G. Fisher                          JAMAL ALSAFFAR
  Assistant United States Attorney               jalsaffar@nationaltriallaw.com
  Florida Bar No. 413010                         Texas State Bar #24027193
  Andrew Grogan                            TOM JACOB
  Assistant United States Attorney               tjacob@nationaltriallaw.com
  Florida Bar No. 85932                          Texas State Bar #24069981
  111 N. Adams Street, 4th Floor           WHITEHURST, HARKNESS,
  Tallahassee, FL 32301                    BREES, CHENG, ALSAFFAR,
  Telephone: 850-942-8430                  HIGGINBOTHAM, & JACOB P.L.L.C.
  peter.fisher@usdoj.gov                   1114 Lost Creek Blvd, Ste. 410
  andrew.grogan@usdoj.gov                  Austin, TX 78746
  Attorneys for Defendant                  (512) 476-4346 (o)
                                           (512) 467-4400 (f)
                                           Attorneys for Plaintiffs
